       Case 6:23-cv-06025-FPG-MWP Document 13-2 Filed 03/06/23 Page 1 of 4




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF NEW YORK


  LETICIA LEE,
                                                                 Case No. 6:23-cv-06025-FPG
             Plaintiff,
                                                                 Removed From:
  v.
                                                                 Supreme Court of the State of New
  WARNER MEDIA, LLC; HBO HOME                                    York, County of Ontario
  ENTERTAINMENT, INC.; WARNER BROS.                              Index No.: 134539-2022
  WORLDWIDE TELEVISION DISTRIBUTION
  INC.; NBC UNIVERSAL TELEVISION
  STUDIO DIGITAL DEVELOPMENT LLC; CBS
  BROADCASTING INC.; GRAMMNET NH
  PRODUCTIONS,

  Defendants.


         DECLARATION OF ELIZABETH A. MCNAMARA IN SUPPORT OF
   DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

        I, Elizabeth A. McNamara, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        1.         I am a partner at the law firm of Davis Wright Tremaine LLP, attorneys for

Defendants Warner Media, LLC, HBO Home Entertainment, Inc., Warner Bros. Worldwide

Television Distribution Inc., NBC Universal Television Studio Digital Development LLC, CBS

Broadcasting Inc., and Grammnet NH Productions (collectively, “Defendants”) in the above-

captioned matter.

        2.         On January 4, 2023, and January 11, 2023, at my direction, a colleague at my law

firm submitted requests for deposit material with the U.S. Copyright Office for Plaintiff’s two

allegedly infringed works: (1) a treatment for her show “Girlfriends,” with Registration No.

PAu1544414 and (2) a script for a “Girlfriends” episode titled “Sasha Says,” with Registration No.

PAu1594108.
     Case 6:23-cv-06025-FPG-MWP Document 13-2 Filed 03/06/23 Page 2 of 4




       3.      On January 12, 2023, at my direction, a colleague at my law firm also sent Plaintiff

LeTicia Lee (“Plaintiff”) a text message, requesting that Plaintiff send Defendants’ counsel her

allegedly infringed, registered works. Plaintiff did not respond.

       4.      On January 31, 2023, Defendants’ counsel received the deposit material for the

“Girlfriends” treatment, with Registration No. PAu1544414.

       5.      On January 17, 2023, my colleague received an email from the U.S. Copyright

Office stating that the “Sasha Says” episode script, with Registration No. PAu1594108, “has been

misplaced/misfiled at our storage facility, therefore, we are unable to locate the work and provide

a copy at this time.” The U.S. Copyright Office further stated that a “completion date for this task

is not available at this time.” Attached as Exhibit A is a true and correct copy of that email.

       6.      On January 27, 2023, my colleague received a further response from the U.S.

Copyright Office stating that, with respect to Registration No. PAu1594108, “resources used in

determining location confirm that a location can’t be determined and therefore [the Copyright

Office is] unable to fulfill the request for deposit copies.” Attached as Exhibit B is a true and

correct copy of that email.

       7.      To date, Defendants have been unable to obtain a copy of Registration No.

PAu1594108 from either Plaintiff or the U.S. Copyright Office.

       8.      I also submit this declaration to annex documents relevant to Defendants’ motion

to dismiss Plaintiff’s Amended Complaint pursuant to Fed. R. Civ. P. 12(b)(6).                These

documents—Plaintiff’s treatment with Registration No. PAu1544414; and Season One of each of

Defendants’ television series (“Living Single,” “Friends,” “Sex and the City,” and

“Girlfriends”)—are integral to Plaintiff’s copyright infringement claim, and are thus properly




                                                 2
     Case 6:23-cv-06025-FPG-MWP Document 13-2 Filed 03/06/23 Page 3 of 4




before the Court on Defendants’ Rule 12(b)(6) motion. See Peter F. Gaito Architecture, LLC v.

Simone Dev. Corp., 602 F.3d 57, 64 (2d Cir. 2010).

       9.      Annexed hereto as Exhibit C is a true and correct copy of Plaintiff’s treatment for

“Girlfriends,” with Registration No. PAu1544414, as received from the Copyright Office.

       10.     Annexed hereto as Exhibit D is a true and correct copy of Season One of

Defendants’ television series, “Living Single.” As Season One of “Living Single” is found on a

DVD, it will be manually filed with the Court under separate cover.

       11.     Annexed hereto as Exhibit E is a true and correct copy of Season One of

Defendants’ television series, “Friends.” As Season One of “Friends” is found on a DVD, it will

be manually filed with the Court under separate cover.

       12.     Annexed hereto as Exhibit F is a true and correct copy of Season One of

Defendants’ television series, “Sex and the City.” As Season One of “Sex and the City” is found

on a DVD, it will be manually filed with the Court under separate cover.

       13.     Annexed hereto as Exhibit G is a true and correct copy of Season One of

Defendants’ television series, “Girlfriends.” As Season One of “Girlfriends” is found on a DVD,

it will be manually filed with the Court under separate cover.

       I declare under penalty of perjury that the foregoing is true and correct.



Dated: March 6, 2023                          Respectfully submitted,

                                              /s/ Elizabeth A. McNamara
                                              Elizabeth A. McNamara (N.Y. Bar No. 1930643)
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                                              New York, New York 10020
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                                                 3
Case 6:23-cv-06025-FPG-MWP Document 13-2 Filed 03/06/23 Page 4 of 4




                              Attorney for Defendants Warner Media, LLC; HBO
                              Home Entertainment, Inc.; Warner Bros.
                              Worldwide Television Distribution Inc.; NBC
                              Universal Television Studio Digital Development
                              LLC; CBS Broadcasting Inc.; and Grammnet NH
                              Productions




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